AO 106 (Rev 04/10) Application for a Search Warrant



                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District of Connecticut

              In the Matter of the Search of                           )
          (Briefly describe the property to be searched                )                             c« :>-C, C\,r.At))
           or identify the person by name and address)                              Case No. 3:19-mj-14~0 (SALM)
              Black Motorola cell phone with                           )
           IMEI# 359526091140005.belonging to
                  Kevin Iman McCormick
                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
pr.averty to. br sea,ched fnd Isive its J9caJiw) ·                            .          .                  .                      ,
  t:S"lacf< Motoro1a eel phone w1tn IMt:.1# 359526091140005 belog1ng to Kevin Iman McCormick, located at the FBI s New
  Haven, Connecticut, field office, as described in Attachment A, which is expressly incorporated herein.
located in the                                   District of
                                    ---
person or describe the property to be seized):
                                                               - - --Connecticut
                                                                     - - - ---~- SV
                                                                                                  , there is now concealed (identify the

  Evidence, fruits and instrumentalities of a crime as described in tAo AWd.il<it an€!- in Attachment B, which is expressly
  incorporated herein.

          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                 ~ evidence of a crime;
                 ~ contraband, fruits of crime, or other items illegally possessed;
                 ~ property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                           Offense Description

        18 U.S.C. § 2339B                                                  Attempting to Provide Material Support and Resources to a
                                                                           Foreign Terrorist Organization (FTO)
          The application is based on these facts:



           ~ Continued on the attached sheet.
           0 Delayed notice of

                                                                      s~ ff:rmcl'.:t?t ~---
                                                 days (give exact ending date if more than 30 days:

               under 18 U.S.C. § 3103a, the basis of which is
                                                                                                                          ) is requested




                                                                           v .               JJ:,ppUc=t'., .,;g=t~,
                                                                                         Samuel Wharton, Special Agent
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.


Date:            11/06/2019                                                          /s/ Sarah A. L. Merriam, USMJ
                                                                                                   Judge 's signature

City and state: New Haven, Connecticut                                            Ho~atah A. L. Merriam, U.S. Magistrate Judge
                                                                                                 Printed name and title
